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                               11               Attorneys for Defendants
                               12                                            UNITED STATES DISTRICT COURT
                               13                                              DISTRICT OF NEVADA
                                                                                         )
                               14               VERONICA HOWARD,                         )
                                                                                         )  Case No.: 2:21-cv-00199-JCM-BNW
                               15                             Plaintiff,                 )
                                                                                         )
                               16                      vs.                               )
                                                                                         )
                               17               CITY OF NORTH LAS VEGAS,                 )  STIPULATION AND ORDER TO
                                                a municipal corporation; RYANN JUDEN;    )  EXTEND DISCOVERY DEADLINES
                               18               SEAN HOEFFGEN; CINDY MARSHALL;           )
                                                and ERIN TELLEZ,                         )  (First Request)
                               19                                                        )
                                                              Defendants.                )
                               20
                               21                      Plaintiff VERONICA HOWARD and Defendants CITY OF NORTH LAS VEGAS, a
                               22               municipal corporation, RYANN JUDEN, SEAN HOEFFGEN, CINDY MARSHALL, and ERIN
                               23               TELLEZ, (collectively, “Defendants”), by and through their respective counsel of record,
                               24               STIPULATE AND AGREE that the current discovery cutoff date of November 3, 2021, be
                               25               continued for a period of sixty (60) days up to and including January 3, 2022. This is the first
                               26               extension to the discovery period that has been requested in this matter.
                               27               1.     DISCOVERY COMPLETED TO DATE:
                               28                      Defendants made and served their initial disclosures required under Fed. R. Civ. P.
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                                   1            26(a)(1)(A), on April 28, 2021.
                                   2                   Plaintiff made and served her initial disclosures required under Fed. R. Civ. P. 26(a)(1)(A),
                                   3            on May 12, 2021. Plaintiff made and served her “First Supplement to Plaintiff’s Initial Disclosures”
                                   4            on August 27, 2021.
                                   5                   On July 8, 2021, Defendant City of North Las Vegas served on Plaintiff “Defendant City of
                                   6            North Las Vegas’ First Set of Interrogatories to Plaintiff.” Plaintiff served her “Objections and
                                   7            Responses to Defendant City of North Las Vegas’ First Set of Interrogatories to Plaintiff” on August
                                   8            27, 2021.
                                   9                   Also on July 8, Defendant City of North Las Vegas served on Plaintiff “Defendant City of
                               10               North Las Vegas’ First Set of Requests for Production of Documents to Plaintiff.” Plaintiff served
                               11               her “Objections and Responses to Defendant City of North Las Vegas’ First Set of Requests for
                               12               Production of Documents to Plaintiff” on August 27, 2021.
                               13                      On August 20, 2021, Plaintiff served on Defendants “Plaintiff’s First Set of Requests for
                               14               Production of Documents.” Defendants responses are due on October 7, 2021.
                               15               2.     DISCOVERY YET TO BE COMPLETED:
                               16                      Plaintiff soon will be serving “Plaintiff’s Second Set of Requests for Production of
                               17               Documents,” seeking disciplinary records for who Plaintiff believes to be comparitors among the
                               18               employees of Defendant City of North Las Vegas’s Municipal Court clerk’s office. Plaintiff also
                               19               intends to take the depositions of the named individual defendants: Ryann Juden, Sean Hoeffgen,
                               20               Cindy Marshall and Erin Tellez. Plaintiff may elect to take additional deposition based on
                               21               deposition transcripts and the responses to written discovery that she receives.
                               22                      Defendants intend to take the deposition of Plaintiff Veronica Howard and may schedule
                               23               other depositions following a review of deposition transcripts and Plaintiff’s responses to its
                               24               discovery requests.
                               25               3.     REASONS WHY REMAINING DISCOVERY HAS NOT YET BEEN COMPLETED:
                               26                      On March 8, 2021, Defendants filed and served “Defendants City of North Las Vegas, Ryann
                               27               Juden, Sean Hoeffgen, Cindy Marshall and Erin Tellez’ Motion to Dismiss Plaintiff’s Complaint,”
                               28               ECF No. 14. The motion has been fully briefed and is pending before this Court. If this motion is

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                                   1            granted in whole or in part, it could significantly affect the scope of this litigation, both in terms of
                                   2            parties and in claims. Because Defendants elected to file a dispositive motion in response to the
                                   3            Plaintiff’s Complaint, ECF No. 1-1, pp. 9-34, none of the defendants have filed an answer to the
                                   4            complaint and, therefore, affirmative defenses have not been pled. While the parties intend to
                                   5            complete as much written discovery as best can be done without regard to the resolution of the
                                   6            dispositive motion, some written discovery and the slate of depositions would be dependent on the
                                   7            case that survives the pending dispositive motion.
                                   8                    Furthermore, a large number of witnesses have been identified which will complicate the
                                   9            completion of discovery by the original deadline.
                               10               4.      REVISED DISCOVERY PLAN:
                               11                       1.      Discovery Cut-Off Date: January 3, 2022.
                               12                       2.      Dispositive Motions: The date for filing dispositive motions shall be not later than
                               13               February 2, 2022, 30 days after the discovery cut-off date. In the event that the discovery period
                               14               is extended from the discovery cut-off date set forth in this Stipulation and Order to Extend
                               15               Discovery (First Request), the date for filing dispositive motions shall be extended for the same
                               16               duration, to be not later than 30 days from the subsequent discovery cut-off date.
                               17                       3.      Pretrial Order: The date for filing the joint pretrial order shall be not later than
                               18               March 4, 2022, 30 days after the date set for filing dispositive motions. In the event that dispositive
                               19               motions are filed, the date for filing the joint pretrial order shall be suspended until 30 days after
                               20               decision on the dispositive motions or until further order of the court.
                               21                       4.      Additional Extensions of the Discovery Period: The last day for the parties to file
                               22               their Motion and/or Stipulation to Extend Discovery shall be December 13, 2021, twenty (21) days
                               23               prior to the revised discovery cut-off.
                               24                       5.      Any discovery deadline not extended in accordance with the Revised Discovery Plan
                               25               set forth above shall remain controlled by the Stipulated Discovery Plan and Scheduling Order, ECF
                               26               No. 23, as approved by the Court on April 15, 2021.
                               27               ....
                               28               ....

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                                   1                   No trial date has yet been ordered.
                                   2
                                   3            DATED: 27 September 2021.                           DATED: 27 September 2021.
                                   4            LAW OFFICES OF ROBERT P. SPRETNAK                   NORTH LAS VEGAS CITY ATTORNEY
                                   5            By: /s/ Robert P. Spretnak                          By: /s/ Marisa Rodriguez
                                                   Robert P. Spretnak, Esq.                            Micaela Rustia Moore, Esq.
                                   6                                                                   Claudia E. Aguayo, Esq.
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                                                                                                    North Las Vegas, Nevada 89030
                               10
                               11
                               12                                                    IT IS SO ORDERED.
                               13
                                                                                     _______________________________________________
                               14                                                    UNITED STATES DISTRICT COURT JUDGE
                                                                                     UNITED STATES MAGISTRATE JUDGE
                               15
                                                                                              September 29, 2021
                                                                                     DATED: _______________________________________
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